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7
8                      IN THE UNITED STATES DISTRICT COURT
9                  FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )        2:11-CR-00323-JAM
                                   )
12             Plaintiff,          )
                                   )
13        v.                       )        APPLICATION FOR ORDER
                                   )        REGARDING CRIMINAL FORFEITURE
14   KENNETH GEORGE EATON,         )        OF PROPERTY IN GOVERNMENT
     WILLIAM JOSEPH BOHAC,         )        CUSTODY - 18 U.S.C. §
15   JONATHAN DALE GANEY, and      )        983(a)(3)(B)(ii)(II)
     THOMAS EUGENE GANEY,          )
16                                 )
               Defendants.         )
17   ______________________________)
18
19        The United States of America, through its counsel, hereby
20   moves for an order allowing the government to maintain custody of
21   property already in the government’s possession pending the
22   resolution of a criminal forfeiture matter.           The grounds for the
23   motion are as follows:
24        On or about July 19, 2011, during the execution of a federal
25   search warrant agents seized the following:
26        a.   Approximately $46,000.00 in U.S. Currency.
27
     Hereinafter, the above-referenced asset is referred to as the
28
     "seized asset".


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1         In accordance with 18 U.S.C. § 983(a)(1), the Drug
2    Enforcement Administration ("DEA") sent notice to all potential
3    claimants of its intent to forfeit the seized asset in a non-
4    judicial forfeiture proceeding, and caused notice to be published
5    in a newspaper of general circulation.
6         On or about October 14, 2011, defendant William Joseph Bohac
7    filed a claim contesting the administrative forfeiture of the
8    seized asset above pursuant to 18 U.S.C. § 983(a)(2).
9         Pursuant to 18 U.S.C. § 983(a)(3), the United States has 90
10   days in which to 1) return the property to the defendant, 2)
11   commence a civil judicial forfeiture action, or 3) commence a
12   criminal forfeiture action by including the seized asset in a
13   criminal indictment.       On July 28, 2011, the government elected
14   the third option when it filed an Indictment containing a general
15   forfeiture allegation.       On January 4, 2012, the government filed
16   a Bill of Particulars that includes forfeiture of the seized
17   asset.    The Indictment and Bill of Particulars are now pending in
18   this Court.
19        Title 18 U.S.C. § 983(a)(3)(B)(ii)(II) provides that when
20   the government elects the third option, it must "take the steps
21   necessary to preserve its right to maintain custody of the
22   property as provided in the applicable criminal forfeiture
23   statute".     The applicable forfeiture statute in this case is 21
24   U.S.C. § 853.     That statute prescribes several methods for
25   preserving property for the purpose of criminal forfeiture.
26        Section 853(f) authorizes the issuance of a criminal seizure
27   warrant.    However, in cases like this one, where the property in
28   question is already in government custody, it is not appropriate



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1    for a court to issue a seizure warrant directing the government
2    to seize property from itself.         In turn, Section 853(e)
3    authorizes the court to issue a restraining order or an
4    injunction to preserve the property for forfeiture.                  However,
5    that provision is not pertinent because there is no need to
6    enjoin the government from disposing of property that the
7    government has taken into its custody for the purpose of
8    forfeiture, and that the government intends to preserve for that
9    purpose through the conclusion of the pending criminal case.
10         Finally, Section 853(e)(1) also authorizes a court to "take
11   any other action to preserve the availability of property"
12   subject to forfeiture.     The government contends that this
13   provision applies in circumstances where, as here, the government
14   has already obtained lawful custody of the seized asset pursuant
15   to a federal search warrant, and the government seeks to comply
16   with Section 983(a)(3)(B)(ii)(II).         Thus, all that is required to
17   comply with Section 983(a)(3)(B)(ii)(II) is an order from this
18   Court stating that the United States and its agencies, including
19   DEA and/or the U.S. Marshals Service, may continue to maintain
20   custody of the seized asset until the criminal case is concluded.
21         Accordingly, pursuant to Section 853(e)(1), the United
22   States respectfully moves this court to issue an order directing
23   that the United States may maintain custody of the seized asset
24   through the conclusion of the pending criminal case, and stating
25   ///
26   ///
27   ///
28   ///



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1    that such order satisfies the requirements of 18 U.S.C.
2    § 983(a)(3)(B)(ii)(II).
3    DATED: 4/18/2012                 BENJAMIN B. WAGNER
                                      United States Attorney
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5                               By:    /s/ Jared C. Dolan
                                      JARED C. DOLAN
6                                     Assistant U.S. Attorney
7
8                                     ORDER
9         This matter comes before the Court on the motion of the
10   United States for an Order authorizing the government and its
11   agencies to maintain custody of certain property pending the
12   conclusion of the pending criminal case.         For the reasons
13   provided in the government’s motion, the Court makes the
14   following orders:
15        IT IS HEREBY ORDERED, that the United States and its
16   agencies, including the DEA and/or the U.S. Marshals Service, are
17   authorized to maintain and preserve the following asset until the
18   conclusion of the instant criminal case, or pending further Order
19   of this Court:
20        a.   Approximately $46,000.00 in U.S. Currency.
21
22        IT IS SO ORDERED.
23   DATED: April 19, 2012            /s/ John A. Mendez
                                      JOHN A. MENDEZ
24                                    United States District Court Judge
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